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Attorneys for Plaintiff
                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
SEXUALITY AND GENDER ALLIANCE,               Case No. 1:23-cv-00315-DCN

                   Plaintiff,                PLAINTIFF’S MOTION FOR
                                             PRELIMINARY INJUNCTION AND,
       v.                                    IN THE ALTERNATIVE,
                                             TEMPORARY RESTRAINING
DEBBIE CRITCHFIELD, et al.,                  ORDER

                  Defendants.                (Relief Requested by August 11, 2025)
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               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiff Boise High School Sexuality

and Gender Alliance, by and through its undersigned counsel, respectfully moves this Court for a

preliminary injunction enjoining Defendants, as well as their officers, employees, agents, and all

persons acting in concert or participation with them, from enforcing Idaho Senate Bill 1100

(“S.B. 1100”) against transgender students in Boise High School restrooms. Plaintiff also moves

this Court for an order waiving the requirement for bond or security from Plaintiff. Plaintiff

requests that the Court grant the requested preliminary injunction on or before August 11,

because the new school year begins at Boise High School on August 12. Alternatively,

Plaintiff asks that the Court grant a temporary restraining order on or before August 11

that will preserve the status quo as to restrooms pending resolution of this motion for a

preliminary injunction.

       This motion is based on the Memorandum in Support of Plaintiff’s Motion for

Preliminary Injunction, the accompanying declarations and exhibits, all the pleadings and papers

on file, and any argument the Court may consider. Enforcing S.B. 1100 against transgender

students in Boise High School restrooms violates the Equal Protection Clause of the Constitution

and Title IX of the Education Amendments of 1972. A preliminary injunction is warranted

because Plaintiff and its members are likely to succeed on the merits of their claims that it is

unlawful to enforce S.B. 1100 against transgender students in Boise High School restrooms;

absent an injunction, Plaintiff and its members will suffer irreparable harm to their constitutional

and statutory right to equal treatment and their health and well-being; the balance of equities tips

sharply in Plaintiff’s favor; and a preliminary injunction is in the public interest.




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DATED: July 3, 2025             Respectfully Submitted



                                By:            /s/ J. Max Rosen
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of July, 2025, I filed the foregoing
electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

       James Craig   james.craig@ag.idaho.gov

       James Rice    jim.rice@ag.idaho.gov


                                                                        /s/ J. Max Rosen
                                                                        J. Max Rosen
